DOCKET ENTRIES
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

"Y NO. 521 -- In re California Mortgage Loan Brokerage Securities Litigation

 

 

 

 

 

 

82/08/16: 1 MOTION, BRIEF, SCHEDULE OF ACTIONS, CERT. OF SVC. ~- Pltfs.
in all actions (A~-1 thru A-7)

i SUGGESTED TRANSFEREE DISTRICT: E.D. California

SUGGESTED TRANSFEREE JUDGE: (emh )

82/08/24 NOTICE OF ERRATA (re pleading no. 1) -- All plaintiffs
(ATTACHED TO PLEADING NO. 1) (cds)

82/08/23 FIRST AMENDED PROOF OF SERVICE -- All plaintiffs (ATTACHED

: ORIGINAL TO OFFICIAL FILE COPY) (cds)

82/08/25 HEARING ORDER -- Setting motion to transfer A-l thru A-7 for
Panel hearing in Oklahoma City, Oklahoma on 9/23/82 (ds)

82/08/27 REQUEST FOR EXTENSION OF TIME -- Defts. Gerald Echols and
Walter Boyho -- GRANTED to and including Sept. 3, 1982 to
Echols and Boyho ONLY (emh)

82/08/31; APPEARANCES: ROBERT L. LIEFF, ESQ. for all plaintiffs; BARRY W.
MEYER, ESQ. for Bernerd Buckley, et al.; ANTHONY L. HANLEY, ESQ.
for Dennis Piepho; ARTHUR R. ALBRECHT, ESQ. for Title Insurance
& Trust Co.; P. GERHARDT ZACHER, ESQ. for Gerald W. Echols

and Walter Boyko; ROBERT L. MAINES, ESQ. for Pacific Valley Bank;
NARRQXNAWAGEMENRYXENEX N. A. MISCIAGNA, ESQ. for Marco Management,
Inc.; RICHARD A. ARZINO, ESQ. for Appraisal Service of @al.;
DAVID J. RUDE, ESQ. for Grant Morrison; WILLIAM KINDER, ESQ. for
Ben Hill; PAUL MATZGER, ESQ. for Western Title Ins. Co.;

KENNETH HECHT, JR., ESQ. for Transamerica Title Ins. Co.;

BURTON S. LEVINSON, ESQ. for First American Title Ins., Co.,

St. Paul Title Ins. Co. and Mid-valley Title and Escrow Co.;
HARRISON F. COMSTOCK, ESQ. for Stuart & Comstock; EDWARD KRUG, ESQ.
for Frederick C. Weiss, et al.; GABRIEL MURANO, ESQ. for Shauna
Lorenzen; BARBARA DOWNS, pro se; KEITH A. KANDARIAN, ESQ. for
The Hibernia Bank, etc.; THOMAS L. MARCUS, ESQ. for Estelle Cc.
Mannis; MICHAEL STONE, ESQ. for Randy Parker, Lynn Parker,

Robert Hartman, Astor Kuyumkian; KIRKE M. HASSON, ESQ. for
Chicago Title Ins. Co.; GREGORY L. McCOY, ESQ. for Diablo State
Bank; WILLIAM SABSAY, pro se; JOHN C. MORAN, ESQ. for Kenneth
Villano, Rebecca Decesare; DENA R. THALER, ESQ. for Diane Hill;
MXGHAKEXEX XEXGNEXXKERQXXEWKXRAX THOMAS L. WALSH, ESQ. for
Kathleen Sheridan, et al.; JOHN G. SPRANKLING, ESQ. for Safeco
Title Ins. Co.; DENNIS M. HAUSER, ESQ. for American Title Co.;
ARTHUR L. PRETZER, ESQ. for Robert Arlen Malone and Van Baricom;
PHILIP B. PRICE, ESQ. for Oroville Title Co.; BRADLEY S. TOWNE,
ESQ. for Jerold F. Bach and Mary C. Bach; NORBERT KEILBACH, ESQ.

for Frank Daniel Monaco, et al. . (cds)
Stanford H. Atwood, Jr., Esq. for Title Insurance Co. of

Minnesota, Founders Title Co.

 

 

 
a FORM 1A
DOCKET ENTRIES

JUDICIAL PANEL ON MULT IDISTRICT LITIGATION

 

 

 

Pleading Description

82/08/31 3 | RESPONSE/BREIF -- Title Insurance Co. of Minnesota --
i w/cert. of svc. (emh)

82/08/31 4 RESPONSE -- Chicago Title Insurance Company -- w/Exhibit

| and cert of svc. (emh)

82/08/31 RESPONSE/BRIEF -- Oroville Title Company -- w/cert. of svc.
pmn)

82/08/31) RESPONSE -- Pacific Valley Bank -- w/cert. of svc. (emt

82/09/01 RESPONSE -- defts. First American Title Insurance Co.,

Paul Title Insurance Co.; Mid-Valley Title and Escrow Co.
and Colonial Title Guaranty Co. w/Exhibits A and B and
cert. of svc. (ds)

82/09/01 RESPONSE -- deft. Title Insurance and Trust Co. w/Exhibits

A thru I and cert. of svc. (ds) ;
82/09/01; REQUEST FOR EXTENSION OF TIME -- defts. Frank Daniel Monaco

Daniel A. Monaco, Sr., Trudy Monaco, Helen Monaco, Danhel
Co. Inc., F & T Cattle Co., Rancho Remuda, Inc., and
Roscoe Technology, Inc. -- GRANTED to and including
9/3/82 to said defts. | (ds)

82/09/02 APPEARANCE: GREGG EICHLER, ESQ. for Farmers & Merchants Trust Co.;
Horizon Land, Inc.; Capitol Growth, Inc. and National Capital

Consultants, Inc. (cds)

82/09/07 RESPONSE, BRIEF, CERT. OF SVC.--Defts. Echols & Boyko.(eaf)
82/09/07 REQUEST FOR ORAL ARGUMENT -- First American Title Ins. Co.
and St. Paul Title Ins. Co. (eaf )

82/02/07 SPECIAL APPEARANCE, RESPONSE, CERT. OF SVC. -- Bank of Alex

Brown. (eaf)
82/09/01 AFFIDAVIT -- Steven Gourley, Deputy Commissioner for the

Department of Corporations, State of California --
w/cert. of service (cds)

82/09/07 RESPONSE/BRIEF -- Defendants Kathleen Sheridan, Dennis
Avakian, Pamela Dillenbeck, Robert Kamp, Mary Tribe,
Sharon Tremblay Towey, Carl Postello, Ray Holvenstot,
Walter J. Schwegman, Brenda Lewis, Jackie Latipo, Kathy
Castor, Linda Rily Doty, and Marian Sokolich -- w/cert.

82/09/14 RESO oo Geet nerican Title.Co..w/cert. of svc. (ds)
82/09/14 REPLY BRIEF, AFFIDAVIT OF MELVIN J. COBEN AND DANIEL R.
' COWANS AND NOTICE OF PRESENTATION OR WAIVER OF ORAL
ARGUMENT -- pltfs. Montgomery, Boeckel, et al., Wright,
et al., Meadow, et al., Pynchon, et al.,.and Gabel, et al
w/cert. of svc. (ds)

 

 

 
JPML FORM JA - Continuation DOCKET ENTRIES -- p.

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Date

Pleading Description

 

82/09/17

82/09/17
82/09/2

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82/09/21

82/09/24
82/10/08

82/10/13

82/10/13

RESPONSE -- deft. Safeco Title Insurance Co. w/cert. of
svc. (ds)

APPLICATION TO FILE LATE RESPONSE/RESPONSE -- deft. Common-
wealth Land Title Insurance Co. w/sve. (ds)

RESPONSE -- Hibernia Bank Successor by Merger to Security
National Bank -- w/cert. of service (cds)

HEARING APPEARANCES: ROBERT L. LIEFF, ESQ. for Gabel, et al.;
Van Boeckel, et al.; Wright, et al; Pynchon, et al.;
Montgomery; and Meadow; KIRKE M. HASSON, ESQ. for Chicago
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Kathleen Sheridan, et al.; GERARD A. ROSE, ESQ. for Bank of
Alex Brown, (cds)

WAIVERS OF ORAL ARGUMENT: American Title Co.; Jan Robblin;
Commonwealth Land Title Insurance Co.; Dennis Arthur Piepho;
Gerald W. Echols and Walter Boyko; Barbara Downs; Jack C.
and Trudy A. Hinds; Grant Morrison; Marco Management;

Donna Campbell; Vernon Wallace (cds)
WAIVER OF ORAL ARGUMENT -- Jan Hord (ds)

ORDER DENYING TRANSFER -- NOTIFIED INVOLVED JUDGES, CLERKS,

AND COUNSEL (cds)

Notice of Special Appearance -- Ronald R. Rossi,Esq. for Stewart
Title Co. of California. (eaf)

HEARING APPEARANCE# -- Waiver of oral argument for hearing held
9/23/82 -- Stuart & Comstock. (eaf)

 

 

 
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Revised: 8/78

DOCKET NO, 521 -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: IN RE CALIFORNIA MORTGAGE LOAN BROKERAGE SECURITIES LITIGATION

 

 

- SUMMARY OF LITIGATION

 

Hearing Dates Orders Transferee

 

_ 2/23/82 :
Dates Filed Type Citation District Name of Judge

Assigned From

 

 

 

10/8/82 MO
(DENIED)

 

 

 

Special Transferee Information

DATE CLOSED:

10/8/82

 
JPML FORM 1 LISTING OF INVOLVED ACTIONS

DOCKET NO. 521 -- In re California Mortgage Loan Brokerage Securities Litigation

 

 

Intra- District| Civil Transferea@Date of
Office and Action Transfer! Docket PDismissal
Number Caption Judge Number Date Number for Remand

 

Hamilton Montgomery v. Terrence P. N.D.Cal.}| C-82-0894-—RFP
Batt, et al. Peckham

Yvonne Van Boeckel, et al. v. N.D.Cal.| C-82-3745-R
Frederick Carl Weiss, et al. . {Peckham

Henry T. Wright, et al. v. Darrell M. jN.D.Cal.} C-81-4127-R
Schock, et.al. Peckham

f

Aaron E. Meadow, et al. v. Glen L. E.D.Cal.| CIVS-81-448 ee. ho
Cashwheeler, et al. Karlton 22/15 /€/

Edward Pynchon, et al. v. Harold A. E.D.Cal.| CIVS-82-615
Bursell, et al. Schwartz

Mary C. Gabel, et al. v. Frank D. E.D.Cal.| CIVS-82-162
Monaco, et al. Schwartz

Mary C. Gabel, et al. v. Bank of E.D.Cal.| CIVS-82-555
Alex Brown Schwartz

 

 

 

 

 

 

 

 
JPML Form 4

  

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DOCKET NO. 521 -- In re California Mortgage Loan. .Brokerage Securities

Litigation

 

 

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HENRY T. WRIGHT, ET AL. (A-3)
AARON E. MEADOW, ET AL. (A-4)
EDWARD PYNCHON, ET AL. (A-5)
MARY C. GABEL, ET AL. (A-6)
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JPML FORM 4A -- Continuation

 

Panel Attorney Service List -- p. 2

DOCKET NO. _ 521 -- In re California Mortgage Loan Brokerage Securities

Litigation

 

 

 

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DOCKET NO. 521

 

Counsel of Record -- p. 3

-- In re California Mortgage Loan Brokerage Securities Litigation

 

 

 

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JPML FORM 2A ~- Continuation
Counsel of Record -- p.

DOCKET NO.

 

 

 

 

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JPML FORM 2A ~~ Continuation o

DOCKET NO. 521 --
Litigation

  

Counsel of Record -- p._5

In re California Mortgage Loan Brokerage Securities

 

 

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JPML FORM 2A -- Continuation

 

 

 

 

 

 

 

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DOCKET NO. 521 -- In re California Mortgage Loan Brokerage Securities
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JPML FORM 2A -- Continuation o

Litigation

 

Counsel of Record -- p. 7

 

DOCKET NO. 521 -- In re California Mortgage Loan Brokerage Securities

 

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JPML FORM 2A -=- Continuation o

 
    

Counsel of Record -- p. 8

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JPML FORM 2A -- Continuation

DOCKET NO. 521

-~ In re California Mortgage Loan Brokerage Securities Litigation

   

Counsel of Record -- p. 9

 

 

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JPML FORM 2A -- Continuation o

521

  

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Counsel of Record -- p.

In re California Mortgage Loan Brokerage Securities Litigation

 

 

 

 

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SPML FORM 2A ~- Continuation

  

Counsel of Record -- p._ ll

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OR ADDRESS FOR THE FOLLOWING: °

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SCOTT MASTAINICH
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GREGORY M. YOUNG
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STANLEY W. WYER
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COLONIAL TITLE GUARANTY CO.
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DONALD BENJAMIN
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ART FRANCIS

FRED ROBERSON

 

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FRANCES MONACO
HELEN MONACO
DELORES MONACO

JUNE MONACO

PAT MONACO

RONALD MONACO
PERSONAL HOME LOANS, INC.
DONALD SAPRONETTI
A. PAUL REDMOND

JOY MECHAM

JOANNE. WIEKE

TIM FREEMAN

ERMA "DEE" MATHIS
GERRY SMITH

DEBBIE MEDDOCK
BARBARA G. LOWAS

D. HEILLAMANN

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JOHN BRENTT

EDWARD R. CLARK
LORAFAY CLARK

ANNE HANDELL

AMBER HANDELL
ROBERT LYON

VICKY WINTERS
BUCBOARD ENTERPRISES, INC.
CAPRI ASSOC., TEC.
WATERWEST SERVICE, INC.
JHAN FLAHERTY
VERNOR-BS-WAhEaCE
MICHAEL L. REILLY
RON MARTINE

BANK OP-ALEIC BROWSE

r a

 
*@

JPML FORM 3

Name of Part

Terrence Paul Batt

William R. Cole

Dennis A.

Joseph W. Schwartz

Bernard L. Buckley

Pacific Valley Bank

David N. Robinson

Elizabeth A. Williams

Michael A. McCallum

McCallum Realty

Marvin Mirviss’

A-

Named as

Par

 

p. _f

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 521 -- In re California Mortgage Loan Brokerage Sec. Litigation

in Following Actions

 

  
Marvin Mirviss, Inc.

Williams Realty

Thomas Mills

Michael D. Schmaljohann

Gerald W. Echols

Walter Boyko

Frederick Pope

Gary Kwart

Kwart, Inc.

Charles B. Godfrey

William H. Kettler

 
   

JPML FORM 3

 

p.

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 221 --

Name of Par Named as Par in Following Actions
-l
Larry Benjineno

Independent Association

Grant Morrison

Ben R. Hill

Nancy Albert

Michael Brock

Novus Corp.

Wes Sage

Marco Management

Title Insurance & Trust Co.

James S. Martin

 
Appraisal Service of
California

Edward J. Tubbs

Assoc. Apprisers

Frederick C. Weiss

Vince Bartolone

Patrick O'Connell

Alan Rutsky

Ernest J. Cheverier

Susan Brushneff

Shauna Lorenzen

Larry King

 
 

 

JPML FORM 3

  

Pe 5

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. --
Name of Par Named as Party in Following Actions

Joseph Mastainich

Scott Mastainich

Daniel S. Adams

Donald Barsuglia

Geoffrey Glantz

Catherine M. Lacey

Eve Lynch

Craig Jacobson

Karen A. Orcutt

Joyce Marie Pierson

Robert D. Poindexter

 
Roberts

Bradley R. Shaver

Dorothy R. Scofield

William

Stella Fiero

Jeff Tremolda

Steven A. Warren

Stanley W. Wyer

Gregory M. Young

James J. Majgqrowicz

Russell R. Denison
d/b/a Denison Real Estate

Appraisals

 
 

JPML FORM 3
7

 

p.

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
DOCKET NO. “-

Name of Par Named as Party in Following Actions

Residential Appraisal
Service

Stuart & Comstock

 

Stanley W. Myer

Bay City Appriasal

Alpine Appraisals

Stathem, Shaw & Assoc.

Home & Land Title Co.

Northbay Title Co.

TransAmerica Title Ins.
Co.

First American Title
Insurance Co.

Colonial Title Guaranty
Co. ’ ,

 
Western Title Ins. Co.

Founders Title Co.
Stewart Title Co. of

California

Darrell M. Schock

Van Blaricom

Kenneth Villano

Sandy Hallam

Dennis Avakian

Ray Holvenstot

Cynthia Cecil

Robert A. Malone

 
 

JPML FORM 3 9

 

pe

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 9521 --

Name of Part Named as Party in Following Actions
A-3
Leo A. Todd

Security National Bank

Hibernia Bank

Diablo State Bank

Estelle E. Mannis

Jeffrey Kellman

Jan Robblin

Rebecca Decesare

Douglas Duggins

Randy Parker

Ayres Heer

Robert Hartmann

'

 
Sharon Tremblay

Lane D. Lee

Donna Campbell

Dennis Downey

Carl J. Postello

Robert Cox

Susan Torrenson

Howard L. Weeks

Donald Benjamin

Thomas Hoskins

Mary Tribe

 
JPMIL FORM 3

COMMON PARTY CHECKLIST

DOCKET NO. 521 --

Name of Par

Robert Kamp

Michael Kaczmarscki

Sonja Steele

Diane Hill

Astor Kuyumjian

Robert Seidman

Gavin Eldrige

Barbara Downs

Pamela Dillenbeck

Lynda Riley

Cathy Yanez

 

p.

  

ll

-~- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

-3

Named as Par

in Following Actions

 
Theresa Compton

Frank Nelson

Sharman Standrige

Walter J. Schwegman

Debra Gray

Kimball Brown

Mark W. Forman

Brenda Lewis

Linda G. Rocha

Terri D. Jackson

Bonni Brandi

 
 

 

JPML FORM 3

 

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. --

Name of Part Named as Party in Following Actions

John Caudillo

Mark Marsh

William C. Sabsay

Lori Campbell

Raymond Durisen

William W. Mills

Wendy Brown

Jackie Latipow

Kathleen Sheridan

Kathy Castor

Marian Sokolich

,

 
St. Paul Title Insurance

Safeco Title Insurance Co.

Title Ins. Co. of Minn.

Chicago Title Ins. Co.

Lee Atchley

lliot Ball

James Sievers

Glen Leslie Cashwheeler

Barry R. Richards

Irvine P. Dungan

Harold A. Bursell

 
 

JPML FORM 3

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO, 521 --

 

Pe _]5

 

Name of Part

Leonard 0. Gray

Arthur R. Pekarek

Morris Hatfield

Steven Smotherman

Thomas Cardinal

Freda Allen

Allen K. Heller

Ruth A. Mitchell

Susan A. Parks

Roy Giorgi

Deno Paoli

Named as Par

in Following Actions

 

 
Curtis L. Gray

Joyce E. Mitchell

Robert A. Beisley

illiam Cc. Edick

en W. Hermiston

chael E. Lillard

ry E. Miller

an Mross

Sudhir Sahni

Sahni & Assoc.

Harold Todd

 
 

 

JPML FORM 3

  

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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 521 --

Name of Part Named as Party in Following Actions

Paul A. Waller

Tommy L. Warthan

Sally B. Weinheimer

Steven Weinheimer

Paul Winkleman

William J. Shanahan,

Dale Carroll

Harvey A. Wright

Ralph G. Seibly

Betty Beers

Virgil M. Haggard

 
Charles Freund, III

Stephanie Raetze

Steven Robinson

Norman Thompson

Lawrence C. Sloan, Sr.

William Edington

Bill Brock

Gordon Cook

Art Francis

Fred Roberson

James Paponis

 
JPML FORM 3

COMMON PARTY CHECKLIST --

DOCKET NO. 521 --

Name of Par

Gordon Shelly

Claude E. Dixon

Jerre Box

Wayne B. Harbarger, III

John Stephenson

Donald E. Sandridge

Calif. Land Title Co.
of Nevada

Empire Title Co.

Oroville Title Co.

Mid-Valley Title and
Escrow Co.

American Land Title Co.

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p.

  

19

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

Named as Par

in Following Actions _

 
 

Commonwealth Land Title
Co.

Capital Growth, Inc.

Horizon Land, Inc.

Capital Consultants, Inc.

Nat'l Capital Consultants
Inc.

Farmers & Merchants
Trust Co.

Frank Danial Monaco

Daniel A. Monaco, Sr.

Spencer Handel

Trudy Monaco

 

20

 

 
JPML FORM 3

COMMON PARTY CHECKLIST --

DOCKET NO. _ 52] --

Name of P

Gregory J. Monaco

Denise Monaco

Delores Monaco

Frances Monaco
Helen Monaco

June Monaco
Pat Monaco

Ronald Monaco

Personal Home Loans, Inc.

James W. Seabron

Donald Sapronetti

John J. McNally

Walter J. Kalthof

Richard Lewis

A. Paul Redmond

 

pe

  

21

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

Named as Par

in Following Actions _

 
Jerold F. Bach

Jan Hord

Joy Mecham

JoAnne Wieke

Todd L. Johnson

Tim Freeman

Erma "Dee" Mathis

Noreen R. Stenberg

Gerry Smith

Debbie Meddock

Barbara G. Lowas

 
 

JPML FORM 3
23

 

p.

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 521 --

Name of Par Named as Party in Following Actions _

D. Heilamann

Daniel A. Reilly

John Brentt

Edward R. Clark

Lorafay Clark

Anne Handell

Amber Handell

Jack Hinds

Trudy Hinds

Robert Lyon

Gloria Madrigal

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Michael Madrigal

Kenneth Sonheim

Vicky Winters

Bucboard Enterprises, Inc.

Capri Assoc., Inc.

el Co., Inc.

lta Development, Inc.

& T Cattle Co.

ancho Remuda, Inc.

oscoe Technology, Inc.

aterwest Service, Inc.

 

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JPML FORM 3

 

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25

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 52] --

 

Name of P

Jean Flaherty

Vernon D. Wallace

Michael L. Reilly

Ron Martine

Bank of Alex Brown

A-6

Named as Par

in Following Actions

 
